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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )   Criminal No. 21-97
                                             )
DRESHAWN McBROOM                             )

                            ORDER ON MOTION TO QUASH

       Defendant served a subpoena duces tecum requesting certain information contained

within the personnel files maintained by the Pittsburgh Bureau of Police to be delivered to

defense counsel. The subpoena purported to be issued under Rule 17 but did not indicate a

trial date for this matter. This is troubling because Rule 17 is not a discovery mechanism and

it appears that it was used by Defendant in order to circumvent Rule 16 and the Jencks Act.

See Fed. R. Crim. Proc. 17(h). The Court has not set a trial date yet, nor did Defendant seek

permission from the Court for the issuance of a subpoena with a return date prior to the date

of trial. See Fed. R. Crim. Proc. 17(c)(1). In light of this conduct and recognizing the Court’s

duty to ensure that the rules of procedure are followed, the government’s motion to quash said

subpoena will be granted.



       AND NOW, this 12th day of May 2021, upon consideration of the Government’s

Motion to Quash Subpoena to the Pittsburgh Bureau of Police, ECF No. 41, it is hereby

ORDERED that said motion is GRANTED.

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                                             Marilyn J. Horan
                                                        Horan
                                                            n
                                             United States District Judge
